   Case 2:10-md-02179-CJB-DPC Document 6376-3 Filed 04/27/12 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA


 IN RE: OIL SPILL by the OIL RIG               *     MDL NO. 2179
 “DEEPWATER HORIZON” in the                    *
 GULF OF MEXICO, on APRIL 20, 2010             *     CIVIL ACTION NO. 2:10-MD-02179
                                                     SECTION: J
                                                *
 THIS DOCUMENT RELATES TO:                      *    JUDGE BARBIER
                                                     MAG. JUDGE SHUSHAN
 10-cv-4536 (U.S. v. BP, MOEX, et al.)

 ********************************************************************

                                          ORDER

         IT IS ORDERED that Intervenor Plaintiffs Mary G. Walton, Roger Barnhardt, Heather

Clark, Kenneth Clark and Derek Payne (10-cv- 4204) Motion to Intervene in U.S.A. v BP et al.

(10-cv-4536) is hereby GRANTED and Plaintiffs’ Complaint for Intervention shall be filed into

the record.

        New Orleans, Louisiana, this       day of                 ., 2012.




                                           CARL J. BARBIER
                                           UNITED STATES DISTRICT JUDGE




                                               1
